213 F.2d 543
    COLLECTOR OF INTERNAL REVENUE, H. I. Hinds,v.George P. LIVERMORE, Executor.
    No. 4798.
    United States Court of Appeals, Tenth Circuit.
    Feb. 8, 1954.
    
      Appeal from the United States District Court for the Western District of Oklahoma.
      Fred M. Mock, U.S. Atty., Oklahoma City, Okl., for appellant.
      Hatcher, &amp; Bond, Chickasha, Okl., for appellee.
      Before PHILLIPS, Chief Judge, and KNOUS, District Judge.
      PER CURIAM.
    
    
      1
      Appeal dismissed pursuant to stipulation.
    
    